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      ORDERED in the Southern District of Florida on August 16, 2018.




                                                    Laurel M. Isicoff
                                                    Chief United States Bankruptcy Judge




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                             UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION


      IN RE:                                                CASE NO.: 18-15891-LMI

      MAURICE SYMONETTE                                     CHAPTER: 7

            DEBTORS.
      __________________________/

         ORDER GRANTING MOTION FOR ANNULMENT OF THE AUTOMATIC STAY
                NUNC PRO TUNC [DE #42] (SUPPLEMENTED AT DE #51])

             THIS CAUSE came before the Court at a hearing on August 8, 2018 at 3:00 p.m. upon
      the Motion for Annulment of the Automatic Stay Nunc Pro Tunc [DE #42] (Supplemented at DE
      #51] (the “Motion to Annul”) filed HSBC Bank USA, National Association as Trustee for
      Nomura Home Equity Loan, Inc., AssetBacked Certificates, Series 2007-1 (the “Creditor”).
      The Court, having heard argument by the Debtor and argument by counsel for the Creditor enters
      the following Order in relation to Creditor’s Motion to Annul:
         ORDERED:
             1.     The Motion to Annul is GRANTED.
             2.     The Automatic Stay in relation to the Creditor is annulled to the petition date
      (May 16, 2018).
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       3.      The Debtor has no legal, equitable, or any other colorable title in relation to real
property located at 10290 SW 58th St., Miami, FL, 33173 (the “Subject Property”) – more
particularly described as:




       4.      Any possession by the Debtor in relation to the Subject Property is (and has
always been) unlawful and without the permission of Creditor, the title holder.
       5.      The Debtor’s bankruptcy was filed for the sole purpose of stopping Creditor’s
eviction in relation to the Subject Property.
       6.      The Debtor has no redress for any damages that may or may not have been
experienced by the Debtor in relation to the Debtor’s Emergency Motion for Violation of the
Automatic Stay [DE #20].




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Attorney, Jeffrey S. Fraser, Esq. shall serve a copy of the signed order on all required parties
and file a certificate of service as required under Local Rule 2002-1(F).

Submitted by:
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